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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

Vv.
CRIMINAL NO. 19-CR-10080
DAVID SIDOO, et al FILED UNDER SEAL

Defendants

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DEFENDANT ROBERT ZANGRILLO’S SEALED MOTION FOR RULE 17(c) PRE-
TRIAL SUBPOENA

Now comes the Defendant Robert Zangrillo, by and through undersigned counsel, and
hereby respectfully moves this Honorable Court, pursuant to Fed. R. Crim. P. 17(c) and the
Compulsory Process Clause of the Sixth Amendment, for the issuance of a subpoena duces
tecum returnable pre-trial directed to the University of Southern California (“USC”) and seeking
the production of documents listed in Exhibit 1.

As grounds and reasons therefor, Mr. Zangrillo states that the issuance of the requested
subpoena and access to the listed documents are necessary to the adequate preparation of his defense
to the serious charges against him. Those charges are based on Mr. Zangrillo’s purported agreement
to pay Rick Singer a total of $250,000 to facilitate his daughter’s admission to USC. See Dkt. 314,
Superseding Indictment { 262. The government alleges that Mr. Zangrillo’s daughter’s “application
included falsified athletic credentials.” Jd. ] 263. The requested subpoena seeks records and
information maintained by USC in its regular course of business that relate to other similarly situated

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students applying for admission in close proximity to a financial donation from a parent.

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BACKGROUND

The Indictment charges Mr. Zangrillo with one count of conspiracy to commit mail and wire
fraud and honest services mail and wire fraud, as well as one count of conspiracy to commit money
laundering. The first count alleges that Mr. Zangrillo used the mails and interstate wires in
furtherance of “a scheme and artifice to defraud and to obtain money and property, to wit, . . .
admission to [USC], by means of materially false and fraudulent pretenses, representations, and
promises, and to defraud and deprive . . . [USC] of [its] right to the honest and faithful services of
[its] .. . athletic coaches and university administrators, through bribes and kickbacks.” Dkt. 343
323. The money laundering count alleges that Mr. Zangrillo conducted and attempted to conduct

financial transactions involving the proceeds of the foregoing fraud. See id. | 325.
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Il. LEGAL STANDARD
“Rule 17(c) implements the Sixth Amendment guarantee that an accused have

compulsory process to secure evidence in his favor.” United States v. Beckford, 964 F. Supp.
1010, 1019 (E.D. Va. 1997) (quoting Jn re Martin Marietta Corp., 856 F.2d 619, 621 (4th Cir.
1988)). Indeed, the Supreme Court has expressly acknowledged that “[t]he right to the
production of all evidence at a criminal trial . . . has constitutional dimensions.” United States v.
Nixon, 418 U.S. 683, 711 (1974). The Court explained:

The Sixth Amendment explicitly confers upon every defendant in a

criminal trial the right “to be confronted with the witnesses against

him” and “to have compulsory process for obtaining witnesses in

his favor.” Moreover, the Fifth Amendment also guarantees that

no person shall be deprived of liberty without due process of law.

It is the manifest duty of the courts to vindicate those guarantees,

and to accomplish that it is essential that all relevant and

admissible evidence be produced.
Id. To effectuate these fundamental guarantees, Rule 17 permits defendants, like the
government, to subpoena evidentiary materials for use in their defense, and district courts have

the discretion to order that Rule 17(c) subpoenas be returnable prior to trial. See id. at 698-99

(the “chief innovation [of Rule 17(c)] was to expedite trial by providing a time and place before
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trial for the inspection of subpoenaed materials”).

Under Nixon, in order to obtain production of subpoenaed documents prior to trial, the
moving party must show: “(1) that the documents are evidentiary and relevant; (2) that they are
not otherwise procurable reasonably in advance of trial by exercise of due diligence; (3) that the
party cannot properly prepare for trial without such production and inspection in advance of trial
and that the failure to obtain such inspection may tend unreasonably to delay the trial; and (4)
that the application is made in good faith and is not intended as a general ‘fishing expedition.’”
Id. at 699-700 (internal footnote omitted). In short, a party seeking a pre-trial Rule 17(c)
subpoena “must clear three hurdles: (1) relevancy; (2) admissibility; (3) specificity.” Jd, at 700;
see also, e.g., United States v. LaRouche Campaign, 841 F.2d 1176, 1180 (1st Cir. 1988)
(referring to “threshold showing of admissibility, relevancy, and specificity”).!

Ultimately, all that is required is a likelihood that the subpoenaed materials will reveal
“relevant evidence, admissible at trial.” LaRouche, 841 F.2d at 1180. This threshold inquiry
simply “requires the Court to assess whether the documents sought have ‘any tendency to make

the existence of any fact that is of consequence to the determination of the action more probable

' Mr. Zangrillo notes that some courts have suggested that the Nixon requirement that the
subpoenaed documents be “evidentiary” should not be applied where the Rule 17(c) subpoena is
directed to a third party, as opposed to the government. See, ¢.g., United States v. Tucker, 249
F.R_D. 58, 66 (S.D.N.Y. 2008) (holding that the defendant “need only show that the request is
(1) reasonable, construed as ‘material to the defense,’ and (2) not unduly oppressive for the
producing party to respond”); United States v. Nachamie, 91 F. Supp. 2d 552, 563 (S.D.N.Y.
2000) (“[T]he judicial gloss that the material sought must be evidentiary—defined as relevant,
admissible and specific—may be inappropriate in the context of a defense subpoena of
documents from third parties”). While the defense believes that, for the reasons outlined below,
the Nixon standard is satisfied here, it alternatively contends that the subpoena should be

authorized under the less stringent “material to the defense” standard.
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or less probable than it would be without the evidence.’” United States v. Libby, 432 F. Supp. 2d
26, 31 (D.D.C. 2006) (quoting Fed. R. Evid. 401). It is not required that the subpoenaed
materials actually be introduced into evidence, so long as the motion represents “a good-faith
effort . . . to obtain evidence.” Bowman Dairy Co. v. United States, 341 U.S. 214, 220 (1951);
see also United States v. Rajaratnam, 753 F. Supp. 2d 317, 320 n.1 (S.D.N.Y. 2011) (‘[Tyhe
Bowman Dairy court interpreted Rule 17 as neither a discovery device to examine documents for
whatever might turn up, nor as a mechanism to obtain documents that a defendant can identify in
advance, but rather a way for a defendant to examine documents he believes to exist that would
be relevant to, and therefore presumptively admissible in, his defense.”).

Il. THE DOCUMENTS AND INFORMATION SOUGHT ARE RELEVANT
EVIDENTIARY, AND MATERIAL TO MR. ZANGRILLO’S DEFENSE

Here, as reflected in Exhibit 1, Mr. Zangrillo seeks:

a. The number of prospective students, including transfer students, designated as
“VIP,” “special interest,” and/or “university advancement” from January 1, 2015
through February 28, 2019 by any USC personnel;

b. The names, departments (including but not limited to the athletic department), and
titles of the university personnel responsible for each such designation above,
including the number of students designated by each individual employee;

c. For each prospective student designated as “VIP,” “special interest,” and/or
“university advancement” during the relevant time period, the amount of any
donations made to USC by the student’s parent(s) within the period beginning
twelve months prior to the student’s admission and ending twelve months after his
or her admission, as well as the specific USC department or employee receiving
each donation;

d. Information regarding the percentage of students designated as “VIP,” “special
interest,” and/or “university advancement” that were accepted for admission to
USC, including the percentage of such students admitted within twelve months
before or after a donation from a parent of at least $50 thousand, and also

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including a comparison to the percentage of students accepted after presentation
to the athletic subcommittee, and the percentage of all other applicants accepted;

e. Acopy of the University Advancement database referenced in Exhibit 5 current
as of June 17, 2018, the date Mr. Zangrillo’s daughter was admitted to USC;

f. Any and all documents indicating that the President of USC received and/or
reviewed applications from students flagged as “VIP,” “special interest,” and/or
“university advancement”; and

g. All communications including but not limited to emails, text messages, and
instant messages sent or received by any USC personnel relating to Amber
Zangrillo.
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DE The requested university documents are highly

likely to satisfy the business records exception to the rule against hearsay and failure to obtain
access to the potentially voluminous records before trial may tend to cause unreasonable delay.
See Fed. R. Evid. 803(6); United States v. Nachamie, 91 F. Supp. 2d 552, 564 (S.D.N.Y. 2000).
(“Because the documents primarily seek business records, they are at this early stage likely to be
admissible at trial.”).
IV. CONCLUSION

For the foregoing reasons, Mr. Zangrillo respectfully requests that this Honorable Court
grant his motion and issue the requested subpoena.

COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

Undersigned counsel conferred with counsel for the Government and the Government, by
and through AUSA Eric Rosen, takes no position at present on the defense request for issuance

of a subpoena.

Respectfully Submitted,
Robert Zangrillo
By His Attorneys,

/s/ Martin G. Weinberg
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Dated: June 21, 2019

CERTIFICATE OF SERVICE

I, Martin G. Weinberg, hereby certify that on this date, June 21, 2019, a redacted copy of
the foregoing document has been served via electronic mail on AUSA Eric Rosen.
